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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MISSOURI
                                      EASTERN DIVISION

UNITED STATES OF AMERICA,                               )
                                                        )
        Plaintiff,                                      )
                                                        )
v.                                                      )             No. 4:18-CR-00139-RWS-NAB
                                                        )
WILLIAM DOUGLAS HANING,                                 )
                                                        )
        Defendant.                                      )

DEFENDANT’S MOTION TO DISMISS COUNTS TWO THROUGH TWENTY OF THE
  SUPERSEDING INDICTMENT BECAUSE THEY ARE TIME-BARRED BY THE
               APPLICABLE STATUTE OF LIMITATIONS

        Defendant William Douglas Haning (“Haning”), by and through undersigned counsel,

respectfully moves this Court, to dismiss Counts 2 through 20 of the superseding indictment as

they are time-barred by the applicable statute of limitations.1

I.      Background

          On February 14, 2018, Haning was charged in an indictment with 31 counts. (Doc. 1).

Count 1 charged him with conspiracy in violation of 18 U.S.C. § 1349. (Id.). Counts 2 through 31

charged him with wire fraud in violation of 18 U.S.C. § 1343. (Id.). Haning pleaded not guilty to

all counts.

          Following the issuance of the initial indictment, the parties engaged in significant motion

practice, culminating in a motion to dismiss the indictment or, in the alternative, to disqualify the

prosecution team filed on November 13, 2018. (Doc. 72). On November 28, 2018, the Government

filed its response in opposition. (Doc. 79). The very next day, the Government sought, and the



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  Haning is contemporaneously a motion to dismiss the superseding indictment in its entirety on the grounds that it
violates the First Amendment to the United States Constitution. If this Court grants the motion to dismiss the
superseding indictment in its entirety, the arguments set out herein need not be considered.
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grand jury returned, a superseding indictment, adding 19 felony counts. (Doc. 82).

        The pending superseding indictment charges Haning with one count of conspiracy in

violation of 18 U.S.C. § 1349, thirty-two counts of wire fraud in violation of 18 U.S.C. § 1343,

nine counts of mail fraud in violation of 18 U.S.C. § 1341, seven counts of money laundering in

violation of 18 U.S.C. § 1957, and one count of conspiracy in violation of 18 U.S.C. § 371. (Doc

82). Haning, again, pleaded not guilty to all counts.

        Because the superseding indictment was issued on November 29, 2018, and because the

conduct alleged in Counts 2 through 20 occurred more than five years prior to that date, this Court

should dismiss those counts.

II.    Discussion

       A.      The Statute of Limitations for Counts 2 through 20 is Five Years

       Counts 2 through 20 of the superseding indictment each charge Haning with wire fraud in

violation of 18 U.S.C. § 1343. (See Doc. 82). The “general catchall federal criminal statute of

limitations, 18 U.S.C. § 3282(a), establishes a five-year limitations period for non-capital federal

offenses.” United States v. Yielding, 657 F.3d 688, 703 (8th Cir. 2011) (quoting Agency Holding

Corp. v. Malley–Duff & Assocs., Inc., 483 U.S. 143, 155 (1987)) (internal quotation marks

omitted); 18 U.S.C. § 3282(a) (“Except as otherwise expressly provided by law, no person shall

be prosecuted, tried, or punished for any offense, not capital, unless the indictment is found or the

information is instituted within five years next after such offense shall have been committed”).

       Counts 2 through 20 each allege that Haning sent an email on a particular date between

February 20, 2013 and September 12, 2013, and that each of these emails constitutes wire fraud.

(Doc. 82). Thus, each email constitutes a separate offense. See United States v. Clausen, 792 F.2d

102, 104 n.4 (8th Cir. 1986) (“Each separate interstate telephone call in furtherance of a scheme



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to defraud or a scheme to obtain money by false pretenses constitutes a separate offense under 18

U.S.C. § 1343”).

       “For purposes of mail fraud and wire fraud, the five-year statute of limitations begins to

run from the date of mailing of the fraudulent information. Each mailing constitutes a separate

offense.” United States v. Tadros, 310 F.3d 999, 1006 (7th Cir. 2002) (citing United States v.

Barger, 178 F.3d 844, 847 (7th Cir.1999)). “[I]t is well-settled that the statute of limitations for

wire fraud and mail fraud does not begin running with the completion of the fraud scheme; rather,

it runs from the date of the charged call or mailing in furtherance of the scheme. It is therefore

irrelevant when the fraud scheme itself ended, so long as the charged call or mailing took place

within the statutory period.” United States v. Eckhardt, 843 F.2d 989, 993 (7th Cir. 1988)

(citing United States v. Read, 658 F.2d 1225, 1240 (7th Cir. 1981); Fournier v. United States, 58

F.2d 3, 6 (7th Cir. 1932)). See also Barger, 178 F.3d at 847 (“it is well settled that the statute of

limitations for mail fraud begins running on the date of the mailing and not when the criminal

scheme is complete. Mail fraud is not an offense listed as a ‘continuing offense’ whose statute of

limitations begins at the end of a continuous course of criminal conduct.” (citing United States v.

Dunn, 961 F.2d 648, 650 (7th Cir.1992); Toussie v. United States, 397 U.S. 112, 134-35 (1970)

(White, J., dissenting)). See also United States v. St. Gelais, 952 F.2d 90, 96–97 (5th Cir. 1992)

(“The government contends that although the actual transfers occurred in 1984, [the] scheme to

defraud continued into 1985 and should be treated as a continuing offense. We disagree. Each wire

transmission in furtherance of a scheme to defraud constitutes a separate crime. It is not the scheme

to defraud but the use of the mails or wires that constitutes mail or wire fraud”) (citing United

States v. Blankenship, 746 F.2d 233, 236 (5th Cir.1984); United States v. Ashdown, 509 F.2d 793,

798 (5th Cir. 1975)).



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       The superseding indictment was returned on November 29, 2018. (Doc. 82). Because the

statute of limitations for wire fraud is five years, and because the emails in Counts 2 through 20

were each allegedly sent on some date more than five years before November 29, 2018, each count

is unambiguously time-barred and should be dismissed.

       B.      The Superseding Indictment Does Not “Relate Back”

       The only way Counts 2 through 20 are not time-barred, is if the superseding indictment

“relates back” to the initial indictment. The law establishes that, in this case, the superseding

indictment cannot possibly relate back to the date of the initial indictment.

       For limitations purposes, “a superseding indictment filed while the original indictment is

validly pending relates back to the time of filing of the original indictment if it does not

substantially broaden or amend the original charges.” United States v. Yielding, 657 F.3d 688, 703

(8th Cir. 2011) (quoting United States v. Hance, 501 F.3d 900, 905 (8th Cir. 2007)). To determine

whether a superseding indictment substantially broadens or amends a pending indictment, the

Eighth Circuit considers “whether the additional pleadings allege violations of a different statute,

contain different elements, rely on different evidence, or expose the defendant to a potentially

greater sentence.” Id. (quoting United States v. Salmonese, 352 F.3d 608, 622 (2d Cir. 2003)).

“Superseding indictments have been deemed timely when they simply added detail to the original

charges, narrowed rather than broadened the charges, contained amendments as to form but not

substance, or were otherwise trivial or innocuous.” Id. (quoting United States v. Zvi, 168 F.3d 49,

54 (2d Cir. 1999)).

       The superseding indictment adds 19 felonies to the initial indictment and alleges, for the

first time, that Haning committed mail fraud in violation of 18 U.S.C. § 1341, money laundering

in violation of 18 U.S.C. § 1957, and conspiracy in violation of 18 U.S.C. § 371. (See Doc 82). As



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such, the superseding indictment unquestionably broadens substantially and amends the initial

indictment, and it also alleges violations of different statutes, contains different elements, relies on

different evidence, and exposes Haning to a potentially greater sentence. Accordingly, the

superseding indictment does not relate back to the initial indictment.

       Moreover, in the Eighth Circuit, the “touchstone” of the analysis for determining whether

a superseding indictment “substantially broadens or amends a pending timely indictment” is

“whether the original indictment provided the defendant with fair notice of the subsequent charges

against him.” Yielding, 657 F.3d at 704. The superseding indictment in this case adds 19 felony

counts. The initial indictment, which charged Haning with wire fraud, did not provide him with

fair notice that he would subsequently be charged with mail fraud, money laundering, and

conspiracy in violation of 18 U.S.C. § 371.

       What the Government did in this case is precisely what the law prohibits where, as here,

the superseding indictment was filed after the statute of limitations for Counts 2 through 20

expired. As such, Haning respectfully moves this Court to dismiss those counts.

III.   Conclusion

       Based on the foregoing, Haning respectfully requests that this Court grant this motion,

dismissing Counts 2 through 20 of the superseding indictment.




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                                    Respectfully submitted,

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                                      Certificate of Service

      I hereby certify that I filed the foregoing through the Court’s CM/ECF system which will

provide notice of filing to all counsel of record.


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